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                    Exhibit C-27
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      Academic Partnerships
      Selected by University of
      Arkansas System to Expand
      Degree Programs Online
      University of Arkansas System plans participation in the global
      higher education market




      NEWS PROVIDED BY
      Academic Partnerships 
      Feb 05, 2013, 10:00 ET




      DALLAS, Feb. 5, 2013 /PRNewswire/ -- The University of Arkansas System (UA
      System) today announced that it will be collaborating with Academic Part-
      nerships (AP) to deliver undergraduate and graduate degree programs
      online. Academic Partnerships, one of the largest representatives of public
      universities online learning in the United States, will use its expertise in
      online delivery of instruction and its global marketing and recruiting
      capabilities to extend the UA System's brand and increase access to higher
      education for quali ed students in Arkansas and beyond.


      The UA System includes ve four-year universities, ve community colleges,
      an academic health sciences university, a presidential graduate school, a
      mathematics and sciences high school and units related to agriculture,
      archeology and criminal justice. The partnership will give UA System
      institutions the opportunity to work with Academic Partnerships to deliver
      new and existing online courses and programs.


      "Today's technology allows students to access our high quality curriculum
      through dynamic and innovative digital environments," said Dr. Donald R.
      Bobbitt, President of the University of Arkansas System. "We are excited to
      work with Academic Partnerships—a company with an excellent track
      record and a commitment to quality—as it assists us in achieving the
      System's expansion of online academic offerings while maintaining the
      University's rigorous, robust academic standards."


      "The University of Arkansas System has a very creative and progressive vision
      for using technology to scale its quality, reach underserved populations and
      compete for the top students around the world," said Randy Best, founder
      and chairman of Academic Partnerships. "The System is anxious to meet
      the expectations and needs of 21st century educational consumers by being
      an innovator in online learning."


      Academic Partnerships has helped more than 40 public universities
      expand access and scale the delivery of their high quality online degree
      programs. AP has assisted more than 750 professors convert more than
        1,500 traditional courses into an electronic delivery format and recruited
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       thousands of students intoDocument     38-46
                                  online degree        Filed
                                                programs for its10/18/21
                                                                 U.S. and Page 3 of 3
        international partners.


        About the University of Arkansas
        Since its inception, the University of Arkansas System has developed a
        tradition of excellence that includes the state's 1871 agship, land-grant
        research university; Arkansas's premier institution for medical education,
        treatment and research; a major metropolitan university; an 1890 land-
        grant university; two regional universities serving southern and western
        Arkansas; ve community colleges; two schools of law; a presidential school;
        a residential math and science high school; and divisions of agriculture,
        archeology and criminal justice. The individual entities of the UA System
        maintain cooperative strength as well as diverse offerings that exhibit
        unmatched economic and social impact to the state.


        The UA System provides communities in Arkansas with access to academic
        and professional opportunities, develops intellectual growth and cultural
        awareness in its students and provides knowledge and research skills to an
        ever-changing society. The system enrolls more than 70,000 students,
        employs over 17,000 employees, and has a total budget of over $2 billion.
        An intrinsic part of the texture and fabric of Arkansas, the UA System is a
        driving force in the state's economic, educational and cultural
        advancement.


        About Academic Partnerships
        Dallas-based Academic Partnerships partners with universities to deliver
        students full degree programs online. The company was founded by social
        entrepreneur Randy Best, an 18-year veteran of developing innovative
        learning solutions to improve education. Academic Partnerships helps
        universities increase access to high-quality education by providing the
        technology, student recruitment and faculty support necessary to serve
        online students. Academic Partnerships is guided by the principle that the
        opportunities presented through distance learning make higher education
        more accessible and achievable for students in the U.S. and globally. For
        more information, please visit http://www.academicpartnerships.com.


        Contacts:
        University of Arkansas
        Ben Beaumont
        501-686-2951
        bbeaumont@clintonschool.uasys.edu




        Academic Partnerships
        Jaquelyn Scharnick
        214-438-4144
        jaquelyn.scharnick@academicpartnerships.com


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